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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND



 UNITED STATES                                   Criminal Action No. CCB-16-051

               v.                                Civil Action No. CCB-21-3043

 ALEXANDER CAMPBELL


                                           ORDER

The government is reminded that its response to the motion to vacate filed by Alexander
Campbell (ECF 481) is past due (see ECF 482). Considering the possibility that counsel was not
aware of the show cause order, the deadline is hereby Extended until June 9, 2022.
A copy of this Order shall be emailed to AUSA Michael Hanlon and AUSA Leo Wise, and also
sent to Alexander Campbell.
So Ordered this 9th day of May, 2022.


                                                             /s/

                                                   Catherine C. Blake
                                                   United States District Judge
